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 8                              UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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     JENNY LISETTE FLORES., et al.,                   Case No.: CV 85-4544-DMG (AGRx)
11
                                                      ORDER RE PRELIMINARY
12                Plaintiffs,                         APPROVAL OF SETTLEMENT
13
                                                      AGREEMENT AND APPROVAL OF
                  vs.                                 THE PARTIES’ JOINT PROPOSAL
14                                                    RE NOTICE OF SETTLEMENT TO
                                                      FLORES CLASS MEMBERS [1256]
15   MERRICK B. GARLAND, Attorney
     General of the United States, et al.,
16
17                Defendants.
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           UPON CONSIDERATION of the parties’ Joint Motion for Preliminary Approval
21
     of Settlement and Approval of Class Notice of Settlement (“Joint Motion”) [Doc. #
22
     1256], the Court preliminarily APPROVES the parties’ settlement [Doc. # 1256-1] and
23
     APPROVES the notice of the proposed settlement agreement to Flores class members
24
     (“Notice”) [Doc. # 1256-2] in accordance with Federal Rule of Civil Procedure 23(e).
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     The Court sets the following schedule for notice and final approval:
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           By July 8, 2022, Plaintiffs shall provide to Defendants a copy of the approved
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     Notice in English and Spanish.
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 1            By July 28, 2022, Defendants shall post copies of the approved Notice in English
 2   and Spanish on ORR’s web site. Defendants shall notify Plaintiffs’ counsel in writing
 3   when the Notices have been posted and will provide a link to the posted Notice.
 4   Plaintiffs may also post the Notice in English and Spanish on Class Counsel’s public web
 5   site. The notice period shall be thirty (30) days in duration.1
 6            By August 29, 2022, Plaintiffs’ counsel shall file and serve any objections
 7   received, redacted as appropriate, or notify the Court that no objections have been
 8   received.
 9            By September 2, 2022, Plaintiffs shall file their motion for final approval of the
10   settlement. Plaintiffs shall include a proposed order approving the Settlement Agreement
11   and dismissing Plaintiffs’ Motion to Enforce Settlement Re Emergency Intake Sites [Doc.
12   # 1161] with prejudice. Any motion for attorneys’ fees shall also be filed by this date.
13            By September 8, 2022, Plaintiffs and Defendants shall file a joint report regarding
14   any objections received from class members during the period for the submission of
15   objections.
16            The Court will hold a final fairness hearing on September 23, 2022 at 10:00 a.m.
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18   IT IS SO ORDERED.
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20   DATED: June 30, 2022                                           ________________________________
21                                                                  DOLLY M. GEE
                                                                    UNITED STATES DISTRICT JUDGE
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      If ORR opens an EIS facility during the 30-day Notice period, then Defendants will post the Notice at that facility in a place
28   where class members can view the Notice and will promptly notify Plaintiffs of such posting including the location of the
     posting within the facility.


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